Case: 14-11916-CJP Doc #: 3335 Filed: 03/14/16 Desc: Main Document Page 1 of 4

an te

co ad x {i
4 t jetes Tee OS

Form 210A (12/09)
TDIGHAR I& PH \2: 48

United States Bankruptcy Courts.

District of New Hampshire

In re: GT Advanced Technologies, Inc. et. al. Case No. 14-11916

AMENDED TRANSFER OF CLAIM OTHER THAN FOR SECURITY

A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a).
Transferee hereby gives evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of
the transfer, other than for security, of the claim referenced in this evidence and notice.

 

 

Fair Liquidity Partners, LLC Allied Development Group. Inc. DBA
Name of Transferee Hirealliance

Name of Transferor
Name and Address where notices to transferee Name and Address where notices to
should be sent: transferor should be sent:

Fair Liquidity Partners, LLC Allied Development Group, Inc. DBA

Hirealliance
1777 Saratoga Ave. # 106
an: a we 3 166 South River Road, Suite 220

Bedford, NH 03110
973-0650 1
Phone: (408) 973-0650 Phone: (603) 232-8200

Court Claim # (if known) 189
Last Four Digits of Acct#: Amount of Claim: $29,309.23
Date Claim Filed: 11/18/2014

I declare under penalty of perjury that the information provided in this notice is true and correct
to the best of my knowledge and belief.

 

( Date: 3/7/2016
Transferee/T ansferee’ s Agent

Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both, 18 U.S.C. $§ 152 & 3571,
OF AGal oj 41494916 SF CUPN DBE lH! {$85 Filed: 03/14916*Beeeoifain DéGtiment® Page 2 of4 a

WAN Ve"CUIU pee iif 4 |

1777 Saratoga Ave

FAIR LIQUIDITY PARTNERS, LLC Sa

(408) 073-0860

UNITED STATES BANKRUPTCY COURT

 

 

DISTRICT OF NEW HAMPSHIRE

| )
ifn re, )
: ) Chapter 11
‘eT Advanced Technologies, Inc. gt. al, Case No. 1411916
| )
Sie ) Jointly Administered.
erat Corporation

)
)
NOTICE OF TRANSFER OF CLAIM OTHER THAN FOR SECURITY
AND WAIVER OF NOTICE

Bankruptey Rule 3001(e)(2)

PLEASE TAKE NOTICE thet the filed unsecured claim of ALLIED DEVELOPMENT GROUP,
INC DBA HIREALLIANGE (‘Traneferor’) against the Debtor in the amount of $29,309.23 as
llsted within the Clalms Regster, and all clalms of Transferor have bean transferred and assigned
other than for security to Fair Liquidity Partners, LLC. The signature of the Transferor on this
document Is evidence of the transfer of the claims and all rights there under. Transferor hereby
agrees to waive notice as described by Bankruptcy Rule 3001 (e)(2),

L the undersigned Tranaferor of the above-described claims, hereby assign and transfer my
claims and all rights thereunder to Falr Liquidity Partners, LLC upon terme as set forth herein and
In the offer letter racelved. | authorize Falr Liquidity Partners, LLC to take the steps raquired to
transfer the above claim or claims Into thelr name. | represent and warrant that the claim is not
less than $27,848.23 and has not been previously disallowed, objacted to, sold, or satisfied.

Upon notification by Falr Liquidity Partners, LLC, | agree to reimburse Falr Liquidity Partners, LLC
a portion of the purchase price if the clalm Is red! used, objected to, reciassifled, or disallowed In
whole or In part by the Debtor. Such relmbursement would be calculated as follows: dollar
amount of claim reduction multiplied by the purchase rate, Other than as stated above, Falr
Liquidity Partners, LLG assumes all risks associated with the debtors’ ablllty to distribute funds. |
agree to deliver to Fair Liquidity Partners, LLG any correspondence or payments received
subsequent to the date of thls agreement and authorize Fair Liquidity Partners, LLC to take the
steps nacessary to transfer this claim and all claims we hald agalnst the above debtor. The clerk
of the courtis authorized to change the address regarding the clalm of the Transferor te that of

the Transteree listed below.

ALLIED DEVELOPMENT GROUP, INC DBA HIREALLIANCE, 166 SOUTH RIVER ROAD, SUITE
220, BEDFORD, N 10

re Date: _3/4/(Ile

Name: Dav tc Lame | Phone; / (702 \ 232-3200
he Se i Et Why Fax: £70>) 252-3742

Transfaree:
— LIQUIDITY re oi LLC, 1777 SARATOGA AVE #108, SAN JOSE, CA 95129

signature:

Kania:

 

 
Docket #1123 Date Filed: 1/23/2015

FILED

 

Form 210A 41209)
2015 JAN 23 AN 10: 56

United States Bankruptcy Court, , fL58k oF THe

District of New Hampshire DISTRICT beget
In re: GT Advanced Technologies, Inc. et. al. Case No. 14-11916

TRANSFER OF CLAIM OTHER THAN FOR SECURITY

A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a).
Transferee hereby gives evidence and notice pursuant to Rule 3001(e)(1), Fed. R. Bankr. P., of
the transfer, other than for security, of the claim referenced in this evidence and notice.

Fair Liquidity Partners, LLC Hirealliance Allied Development
Name of Transferee Group, Inc.

Name of Transferor
Name and Address where notices to transferee Name and Address where notices to
should be sent: transferor should be sent:

Fair Liquidity Partners, LLC Hirealliance Allied Development

1777 Saratoga Ave. # 106 Group, Inc,
San Jose, CA 95129 PO Box 9627
Phone: (408) 973-0650 Manchester, NH 03108
Phone: (603) 232-8200
Court Claim # (if known) n/a
Last Four Digits of Acct#: Amount of Claim: $27,849.23

Date Claim Filed: n/a

I declare under penalty of perjury that the information provided in this notice is true and correct
tothe best ofmy knowledge and belief§ ee a oo

By: Mastabireh Date: 1/15/2015
Transferee/Trasferee’s Agent

Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 ULS.C. $$ 152 & 3571.

1411916150123000000000038

 

 
= -Gase4-11916-EJP-Doce-#:-3335-Filed:-03/14/16—Dese: Main Document Page 4 of 4——+
___Case: 14-11916-HJB Doc #: 1123 Filed: 01/23/15 Desc: Main Document Page 20f2

1777 Saratoga Ave.

 

FAIR LIQUIDITY PARTNERS, LLC Sendose, CA 95129
(408) 973-0850
UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW HAMPSHIRE i
Inre.
Chapter 14

Case No, 14-71916

GT Advanced Technologies, Inc. ef. al,

 

Jointly Administered,

Debtor,
GTAT Corporation

we Se

 

 

NOTICE OF TRANSFER OF CLAIM OTHER THAN FOR SECURITY
AND WAIVER OF NOTICE
Bankruptcy Rule 3001(e)(1)

PLEASE TAKE NOTICE that the scheduled unsecured claim of HIREALLIANCE ALLIED
DEVELOPMENT GROUP, INC. (“Transferor’) against the Debtor in the amount of $27,849.23 as
listed within the Schedule of Assets and Liabilities, and all claims of Transferor have been
transferred and assigned other than for security to Fair Liquidity Partners, LLC. The signature of
the Trahsferar on this document is evidence of the transfer of the claims and all rights there =~
‘under. Transferor hereby agrees to waive notice as described by Bankruptcy Rule 3001(e}1).

|, the undersigned Transferor of the above-described claims, hereby assign and transfer my
claims and all rights thereunder to Fair Liquidity-Partners, LLC upon terms as set forth hereln and
in the offer letter recelved. | authorize Fair Liquidity Partners, LLC to take the steps required to
transfer the above claim or claims [nto their name. | represent and warrant that the claim is not
less than $27,849.23 and has not been previously disallowed, objected to, soid, or satisfied.
Upon notification by Fair Liquidity Partners, LLC, | agree to reimburse Fair Liquidity Partners, LLC
4 portion of the purchase price if the claim is reduced, objected to, reclassified, or disallowed In
whole or tn part by the Debtor, Such relmbursernent would be calculated as foliows: dollar ‘|
amount of claim reduction multiplied by the purchase rate, Other than as stated above, Fair J
Liquidity Partners, LLC assumes all risks assaclated with the debtors” ability to distribute funds. |
agree to dellver to Fair Liquidity Partners, LLC any correspondence or payments recelved
| subsequent to the date of thls agreement and authorize Fair Liquidity Partners, LLC to take the
steps necessary to transfer this claim and all claims we hold against the above debtor, ‘The clerk
of the. court is authorized to change the address regarding the clalm of the Transferor tothatof -

the Transferee listed below.

 

\Ul Sodth Aiver jad, SUK 220

Transferor:
HIREALLIANCE ALLIED DEVELOPMENT GROUP, INC., - PO-BO# 1677;--MANCHESTER,-NE——
Bed tre , Vel Gsilo

03:188—~ Ay
-- Signature: “3 fo >’ Date: ‘hag ]2ois-

Name: mM lad ( rane ( » prota 22. = Sep

Tile: Manaus 2alester Fex: ((ab>\ 232- Fouls

Transferee;
FAIR LIQUIDITY PARTNERS, LLC, on SARATOGA AVE #106, SAN JOSE, CA 95129

Date: Ie] 5

Signature:

 

Name:

Title: Vice -Credi

 

 

 
